                                    Case 3:16-cv-00193-TCB Document 1-14 Filed 12/09/16 Page 1 of 3
    JS 44 (Rev. 08/16)
                                                                                   CIVIL COVER SHEET
    The JS 44 civil cover sheet and the information contained herein neither replace nor, supplement the fil.ing and service of pleadings or other papers as required by law, except as
    provided by local. rules of.court. This form, approved by the Judicial Conference of the United States m September 1974, is required for the use of the Clerk of Court for the
    purpose of m1tiatmg the CIVIi docket sheet. (SHE INS1JWCTIONS ON NEXr PAGE OF THIS FORM.)

    I. (a) PLAINTIFFS                                                                                                DEFENDANTS
    Rita Meeks, Individually and as administratrix of the estate of Alan                                           Robert Lynn Newcomb, Celadon Trucking Services, Inc., and Wabash
    Hembree                                                                                                        National Corporation

        {b) County of Residence ofFirst Listed Plaintiff                    Haralson County                          County of Residence ofFirst Listed Defendant                                    Henry County, Virginia
                                       (EXCHPT IN U.S. PLAINTIFF CASES)                                                                                 (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                                     NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                                THE TRACT OF LAND INVOLVED.

        {C)     Attorneys (Firm Name, Address, and Telephone Number)                                                 Attorneys (If Known)
    See Attachment A                                                                                               See Attachment B



    II. BASIS OF JURISDICTION (Place an "X" in One Box Only)                                           III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an "X" in One Box/or Plaintiff
                                                                                                                (For Diversity Cases Only)                                                   and One Box/or Defendant)
    0 I       U.S. Government                  03    Federal Question                                                                     PTF             DEF                                              PTF       DEF
                 Plaintiff                             (US. Government Not a Party)                        Citizen of This State          ~ I             0   I         Incorporated or Principal Place     0 4      0 4
                                                                                                                                                                          of Business In This State

    0 2       U.S. Government                  ~4    Diversity                                             Citizen of Another State           0     2      0      2     Incorporated and Principal Place                           0       5   ~5
                 Defendant                             (Indicate Citizenship ofParties in Item III)                                                                        of Business In Another State

                                                                                                           Citizen or Subject of a            0            0      3     Foreign Nation                                             0       6   0 6
                                                                                                             Forei rn Coun
    IV. NATURE OF SUIT (Place an "X" in One Box Only)                                                                                               Click here for: Nature
                                                                                                                                                                    ........................uf    Suit ..Code
                                                                                                                                                                                            _ ····---·---···             Descrirli(lll:l
                                                                                                                                                                                                             ·-·-..----·-··-··
I                CONTRACT                                                  TORTS                             FORFEITURE/PENALTY                             'BANKRUPTCY                                         OTHER STATUTES                       [

    0   110 Insurance                            PERSONAL INJURY                PERSONAL INJURY            0 625 Drug Related Seizure               0 422 Appeal 28 USC 158                            0 375 False Claims Act
    0   120 Marine                         0    310 Airplane                  ~ 365 Personal lnjuiy -            of Property 21use881               0 423 Withdrawal                                   0 376 Qui Tam (31 USC
    0   130 Miller Act                     0    315 Airplane Product                 Product Liability     0 690 Other                                    28 USC 157                                          3729(a))
    0   140 Negotiable Instrument                    Liability                0 367 Health Care/                                                                                                       0 400 State Reapportionment
    0   150 Recoveiy of Overpayment        0    320 Assault, Libel &                Pharmaceutical                                                    PROPERTY RIGHTS                                  0 410 Antitrust
            & Enforcement of Judgment                Slander                        Personal lnjuiy                                                 0 820 Copyrights                                   0 430 Banks and Banking
    0   151 Medicare Act                   0    330 Federal Employers'              Product Liability                                               0 830 Patent                                       0 450 Commerce
    0   152 Recoveiy of Defaulted                    Liability                0 368 Asbestos Personal                                               0 840 Trademark                                    0 460 Deportation
            Student Loans                  0    340 Marine                           lnjuiy Product                                                                                                    0 470 Racketeer Influenced and
            (Excludes Veterans)            0    345 Marine Product                  Liability                          LABOR          . .,,,        · • soc JAL SECURITY                                     Corrupt Organizations
    0   153 Recoveiy of Overpayment                  Liability                 PERSONAL PROPERTY           0 710 Fair Labor Standards               0   861 H!A (1395ft)                               0 480 Consumer Credit
            of Veteran's Benefits          0    350 Motor Vehicle             0 370 Other Fraud                   Act                               0   862 Black Lung (923)                           0 490 Cable/Sat TV
    0   160 Stockholders' Suits            0    355 Motor Vehicle             0 371 Truth in Lending       0 720 Labor/Management                   0   863 DIWC/DIWW (405(g))                         0 850 Securities/Commodities/
    0   190 Other Contract                          Product Liability         0 380 Other Personal                Relations                         0   864 SSID Title XVI                                   Exchange
    0   195 Contract Product Liability     0    360 Other Personal                  Property Damage        0 740 Railway Labor Act                  0   865 RSI (405(g))                               0 890 Other Statutoiy Actions
    0   196 Franchise                               Injuiy                    0 385 Property Damage        0 751 Family and Medical                                                                    0 891 Agricultural Acts
                                           0    362 Personal lnjuiy -               Product Liability             Leave Act                                                                            0 893 Environmental Matters
                                                    Medical Malpractice                                    0 790 Other Labor Litigation                                                                0 895 Freedom oflnfonnation
I            REAL PROPERTY                        CIVIL RIGHTS                PRISONER PETITIONS           0 791 Employee Retirement                  FEDERAL TAX SUITS                                      Act
0       210 Land Condemnation              0    440 Other Civil Rights         Habeas Corpus:                    Income Security Act                0 870 Taxes (US. Plaintiff                         0 896 Arbitration
0       220 Foreclosure                    0    441 Voting                   0 463 Alien Detainee                                                         or Defendant)                                0 899 Administrative Procedure
0       230 Rent Lease & Ejectment         0    442 Employment               0 510 Motions to Vacate                                                0 871 !RS-Third Party                                    Act/Review or Appeal of
0       240 Torts to Land                  0    443 Housing/                       Sentence                                                               26 USC 7609                                        Agency Decision
0       245 Tort Product Liability                  Accommodations           0 530 General                                                                                                             0 950 Constitutionality of
0       2 90 All Other Real Property       LJ   445 Amer. w/Disabilities -   0 535 Death Penalty                 IMMIGRATION                                                                                       State Statutes
                                                    Employment                 Other:                      0 462 Naturalization Application
                                           0    446 Amer. w/Disabilities -   0 540 Mandamus & Other        0 465 Other Immigration
                                                    Other                    0 550 Civil Rights                  Actions
                                           0    448 Education                0 555 Prison Condition
                                                                             0 560 Civil Detainee -
                                                                                   Conditions of
                                                                                   Confinement
V, 0 RIG IN (Place an "X" in One Box Only)
0 I        Original             i:il::2 Removed from             0     3     Remanded from            0 4 Reinstated or       0 5 Transferred from                      0 6 Multidistrict                             0 8 Multidistrict
           Proceeding                  State Court                           Appellate Court               Reopened                    Another District                            Litigation-                                 Litigation -
                                                                                                                                       (.'pecifY)                                  Transfor                                    Direct File
                                                 Cite the U.S. Civil Statute under which you are filing (/Jo 1101 citejurisdicti01111/ statutes unless diversity):
                                                  28 U.S.C.          1446(c)(1)
VI. CAUSE OF ACTION                              Brief description of cause
                                                  Removal of products liability and wrongful death action based on diversity jurisdiction.
VII. REQUESTED IN     0                               CHECK IF THIS IS A CLASS ACTION                        DEMAND$                                              CHECK YES only if demanded in complaint:
     COMPLAINT:                                       UNDER RULE 23, F.R.Cv.P.                                                                                    JURY DEMAND:                                l& Yes              0 No
VIII. RELATED CASE(S)
                                                    (See instrucllom):
      IF ANY                                                                 JUDGE
DATE                                                                            SIGNATURE OF ATTORNEY OF RECORD
    12/12/2016                                                                 Joseph A. White
FOR OFFICE USE ONLY

        RECEIPT#                       AMOUNT                                      APPL YING IFP                                     JUDGE                                          MAG. JUDGE
Case 3:16-cv-00193-TCB Document 1-14 Filed 12/09/16 Page 2 of 3




                             Attachment A

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Phone: Phone: (404) 253-5894              Attorney for Plaintiff
    Attorney for Plaintiff
 Case 3:16-cv-00193-TCB Document 1-14 Filed 12/09/16 Page 3 of 3




                           Attachment B

Scott L. Bonder, Joseph A. White         John D. Dixon, Esq. and
      and Matthew R. Kahn                Jan Seanor Sigman, Esq.
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      National Corporation         and Celadon Trucking Services, Inc.
